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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

__________________________________________
                                          )                  MDL No. 2179
In re: OIL SPILL by the OIL RIG           )
       “DEEPWATER HORIZON” in the         )
       GULF OF MEXICO, on April 20, 2010  )                   Section “J”
                                          )
This Document Relates to:                 )                   Judge Barbier
Civil No. 2:10-cv-01497                   )                   Magistrate Judge Shushan
__________________________________________)


                                 CHEVRON U.S.A., INC’S
                              LOCAL RULE 7.6 CERTIFICATE

       Pursuant to Local Rule 7.6E, undersigned counsel for Chevron U.S.A., Inc. (“Chevron”)

certifies that counsel for Chevron has contacted all counsel of record to request consent to the

filing and granting of this Motion to Intervene. The plaintiffs take no position on the motion

until they have had the opportunity to review it. The government defendants take no position on

this motion. The intervenor-defendants do not object to this motion.
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Date: August 26, 2010              Respectfully submitted,

                                   /s/Meredith P. Young
                                   Meredith P. Young, 27149
                                   KING & SPALDING LLP
                                   1180 Peachtree Street, NE
                                   Atlanta, GA 30309-3521
                                   Telephone: (404) 572-4600
                                   Facsimile: (404) 572-5100

                                   Charles J. Engel, III
                                   Ashley C. Parrish
                                   KING & SPALDING LLP
                                   1700 Pennsylvania Avenue, NW
                                   Washington, DC 20006
                                   Telephone: (202) 737-0500
                                   Facsimile: (202) 626-3737

                                   Reginald R. Smith
                                   Tracey M. Robertson
                                   KING & SPALDING LLP
                                   1100 Louisiana Street, Suite 4000
                                   Houston, Texas 77002-5213
                                   Telephone: (713) 751-3200
                                   Facsimile: (713) 751-3290

                                   Counsel for Chevron U.S.A. Inc.
